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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

   EDWARD HENDREX,

                                     Plaint                    Civil Case No.: 3:1 7-cv-041 66-fLW-
                                                               DEA

                                              V.               DOCUMENT FILED
                                                               ELECTRONICALLY
   VERDE ENERGY,

                                   Defendant.




                      STIPULATION OF DISMISSAL WITH PREJUDICE

          It is hereby stipulated and agreed by and between the Plaintiff, Edward Hendrex, and the

   Defendant, through their respective counsel, that the above-captioned action is dismissed with

  prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear its

   own costs and attorney fees.


                                                            /s/ Jill R. Cohen
    Richard Albanese                                        Jill R. Cohen (JRC 3448)
                                                                                —




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                                                            Attorneys for Defendant


                                                   It is further ordered that the Clerk of the Court
                                                   is directed to reopen this action and upon entry
   Dated: ApIt, 2018                               of this order, the case and docket shall be marked closed.
                                                   IT IS S ORDERED:

                                                     dA Q                )Ai4
                                                   FREDA L. WOLFSON, .S.D.J. S-] -1
